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                  Exhibit A




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1
     F. Shawn Azizollahi (SBN 268116)
2    shawn@marqueelaw.com                                                          ELECTRONICALLY
     Gary Brotman (SBN 287726)                                                         FILED
3    gary@marqueelaw.com                                                           Superior Court of California,
                                                                                    County of San Francisco
     MARQUEE LAW GROUP, A Professional Corporation
4
     9100 Wilshire Boulevard, Suite 445 East Tower                                     06/09/2023
                                                                                    Clerk of the Court
5    Beverly Hills, California 90212                                                  BY: MARK UDAN
     (310) 275-1844 telephone                                                                   Deputy Clerk
6    (310) 275-1801 fax
7
     Attorneys for Plaintiff
8    Geary Sha
9
                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
10
                                  COUNTY OF SAN FRANCISCO
11

12
     GEARY SHA, an individual;                     )     Case No.:
13                                                                                       CGC-23-606989
                                                   )
                     Plaintiff,                    )     COMPLAINT FOR:
14
            vs.                                    )
15                                                 )     1. Disability Discrimination in Violation of
                                                   )        Cal. Gov. Code Section 12900 et seq.;
16   AIRCRAFT SERVICE INTERNATIONAL, )                   2. Harassment and Hostile Work
     INC., a Delaware corporation; MENZIES         )        Environment in Violation of Cal. Gov.
17
     AVIATION (USA), INC. a Delaware               )        Code Section 12900 et seq.;
18   corporation; TRACY AGUILAR, an                )     3. Failure to Prevent Discrimination and
     individual; and DOES 1 through 50, inclusive. )        Harassment in Violation of Cal. Gov.
19
                                                   )        Code Section 12900 et seq.;
                     Defendants.                   )     4. Retaliation in Violation of Cal. Gov.
20
                                                   )        Code Section 12900 et seq.;
21                                                 )     5. Wrongful Termination In Violation of
                                                   )        Public Policy (Count I); and
22
                                                   )     6. Wrongful Termination In Violation of
23                                                 )        Public Policy (Count II).
                                                   )
24                                                 )
                                                   )
25
                                                   )
26                                                 )
                                                   )
27                                                 )
                                                   )
28



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1    Plaintiff alleges:
2                                                  PARTIES
3            1.      Plaintiff, Geary Sha (“Plaintiff” herein), is, and at all relevant times was, a
4    resident of Vallejo, California.
5            2.      Plaintiff is informed and believes, and based thereon alleges, that Defendant
6    Aircraft Service International, Inc. (“ASI”) is, and at all relevant times was, a corporation
7    organized and existing under the laws of the state of Delaware, qualified to do business in the
8    state of California, with its principal place of business located at 3500 William D Tate Avenue,
9    Suite 200, Grapevine, Texas 76051.
10           3.      Plaintiff is informed and believes, and based thereon alleges, that Defendant
11   Menzies Aviation (USA), Inc. (“Menzies”) is, and at all relevant times was, a corporation
12   organized and existing under the laws of the state of Delaware, qualified to do business in the
13   state of California, with its principal place of business located at 4900 Diplomacy Road, Fort
14   Worth, Texas 76155.
15           4.      Plaintiff is informed and believes, and based thereon alleges, that Defendant
16   Tracy Aguilar is, and at all relevant times was, a resident of San Francisco, California. At all
17   relevant times, Aguilar was the Human Resources Manager for Menzies Aviation who controlled
18   the work conditions for Plaintiff.
19           5.      Plaintiff is ignorant of the true names and capacities of the defendants sued herein
20   as DOES 1 through 50, inclusive, and therefore sues these defendants by such fictitious names.
21   Plaintiff will amend this Complaint to allege the true names and capacities of said defendants
22   when ascertained. Plaintiff is informed and believes, and based thereon allege, that each of the
23   fictitiously named defendants is responsible in some manner for the occurrences herein alleged,
24   and that Plaintiff’s damages as herein alleged were proximately caused by said defendants. (ASI,
25   Menzies, and DOES 1 through 50 shall collectively herein be referred to as “Defendants”).
26           6.      At all relevant times herein, Defendants employed Plaintiff, within the meaning of
27   California Government Code § 12926(d). Plaintiff was employed by Defendants and worked at
28   Defendant’s office located at 730 North McDonnell Road, San Francisco, CA 94128 until, as


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1    alleged herein, Plaintiff’s employment was terminated on or about January 3, 2023 for unlawful
2    reasons in violation of the California Fair Employment and Housing Act (“FEHA,” California
3    Government Code § 12900 et seq.) and in violation of California public policy.
4           7.      Unless otherwise alleged in this Complaint, Plaintiff is informed and believes, and
5    based thereon alleges, that each of the Defendants sued herein was, at all relevant times hereto,
6    the employer, owner, principal, franchisee, proxy, agent, employee, supervisor, representative,
7    manager, managing agent, joint employer, and/or alter ego of the remaining Defendants, and was
8    acting, at least in part, within the course and scope of such employment and agency, with express
9    and implied permission, consent, and knowledge. The above Defendants, managing agents, and
10   supervisors aided, abetted, condoned, permitted, willfully ignored, approved, authorized, and/or
11   ratified the unlawful acts described herein, and each and every one of the acts and omissions
12   alleged herein were performed by, and/or are attributable to all Defendants.
13

14                                           JURISDICTION
15          8.      Plaintiff is informed and believes, and based thereon alleges, that at all times
16   herein mentioned, Defendants, and each of them, were doing business in the State of California
17   such that the exercise of jurisdiction by this Court would not be inconsistent with the
18   Constitution of the State of California and/or the United States of America.
19          9.      This Court has jurisdiction over this action pursuant to California Code of Civil
20   Procedure Section 410.10.
21          10.     The total amount in controversy for claims of Plaintiff is more than Twenty-Five
22   Thousand Dollars ($25,000). In addition, Plaintiff asserts no claims under federal law, with all
23   causes of action named herein being based exclusively under California law.
24

25                                                VENUE
26          11.     Plaintiff is informed and believes, and based thereon alleges, that venue is proper
27   in San Francisco County because Defendants, and each of them, have conducted business within
28



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1    the County of San Francisco and a substantial portion of the wrongful acts complained of
2    occurred therein.
3

4                                       GENERAL ALLEGATIONS
5           12.     Plaintiff alleges and incorporates herein by this reference each and every
6    allegation set forth in all previous paragraphs of this Complaint.
7    Plaintiff’s Employment:
8           13.     Defendants employed Plaintiff from on or about May 29, 2018 until on or about
9    January 3, 2023 (the “Employment Period”).
10          14.     ASI is a flight support company which provides a wide array of services to
11   commercial aircraft. ASI offers refueling services to aircraft on the ground as well as ground
12   handling services including baggage and cargo handling and transfer services. ASI is also
13   responsible for providing cabin and lounge cleaning as well as jetway de-icing services. ASI
14   operates around the country and beyond.
15          15.     Similarly, Menzies, in conjunction with ASI, provides ground, fueling, and cargo
16   services to commercial aircraft. In or about 2017, Menzies acquired ASI, who now operates in
17   California under the fictitious business name Menzies aviation. At all relevant times herein, both
18   Menzies and ASI jointly managed and controlled Plaintiff’s wages, hours, work schedule, and
19   work conditions.
20          16.     Plaintiff was a hard-working and successful Operations/General Manager, who
21   carried out his duties effectively and was excited to work for Defendants. That is, until
22   Defendants turned against Plaintiff when he suffered from a temporary disability and required
23   several months of medical leave.
24   Plaintiff’s Protected Status:
25          17.     Plaintiff is a 36-year-old male who suffered from a temporary physical disability.
26   Plaintiff had to have two heart valve surgeries and suffered complications from the first,
27   including a stroke that temporarily disabled Plaintiff’s right side of the body. Plaintiff went out
28   on medical leave for several months to recover and was ultimately wrongfully terminated for


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1    discriminatory and retaliatory reasons, i.e., for belonging to a protected class and for engaging in
2    protected activities. Consequently, Plaintiff is a protected employee, as defined under California
3    Law. (See. Cal. Gov’t Code § 12940, et seq.).
4    Plaintiff’s Job Performance:
5           18.     Plaintiff was an exemplary employee of Defendants throughout the entirety of the
6    Employment Period. Plaintiff never received any negative performance evaluations and was
7    promoted to his managerial position with ease.
8    Defendants’ Harassing, Discriminatory, and Retaliatory Conduct:
9           19.     In or about February 2022, Plaintiff requested and received approval from
10   Defendants for a medical leave of absence pursuant to the Family Care Medical Leave Act
11   (“FMLA”) because Plaintiff needed to have heart valve surgery. Plaintiff’s FMLA leave was
12   approved from February 11, 2022 through May 7, 2022. Because of Plaintiff’s condition, he had
13   scheduled heart surgery for on or about February 11, 2022 and anticipated about one month for
14   recovery time, assuming the procedure was successful.
15          20.     Unfortunately, Plaintiff suffered complications during this first surgery and nearly
16   lost his life during the procedure. The day after this surgery, on or about February 12, 2022,
17   Plaintiff was transferred to a different hospital to properly perform the heart valve surgery and
18   correct complications from the first surgery. As a result of the first surgery completely shutting
19   the left valve of Plaintiff’s heart and cutting off the blood supply to that portion of his heart,
20   Plaintiff received a Left Ventricular Assisting Device (“LVAD”) during this second procedure
21   which would open and shut the valve on the left side of Plaintiff’s heart properly.
22          21.     Further, due to the complications from the first surgery resulting in a lack of
23   blood flow in Plaintiff’s heart, Plaintiff suffered a stroke which disabled the right side of his
24   body. Plaintiff was temporarily unable to move his right arm and right leg; he could not walk nor
25   write. Plaintiff notified Defendants of his condition and his FMLA leave was extended until on
26   or about May 7, 2022.
27          22.     On or about April 7, 2022 Plaintiff was seen by his doctor who extended
28   Plaintiff’s medical leave to absence through September 19, 2022. He was prescribed the use of a


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1    cane or wheelchair during this time as he continued his physical therapy and recovery. A human
2    resources representative from Defendants, Tracy Aguilera, responded to Plaintiff’s new request
3    to extent his medical leave stating, “I’m glad to hear you are doing well.” On April 14, 2022
4    Plaintiff received approval of his request for extended medical leave from Defendant’s Leave of
5    Absence/Return to Work Specialist Patricia Gibson.
6           23.       Just before Plaintiff was set to return on September 20, 2022, Plaintiff’s doctors
7    discovered that Plaintiff’s heart had made an unexpected recovery. Plaintiff’s heart began to
8    function properly and no longer needed the LVAD. Thus, Plaintiff’s doctors informed him that
9    the LVAD needed to be removed and provided him with a new doctor’s note requesting one last
10   extension to his medical leave through December 19, 2022, in order for Plaintiff to have one
11   final procedure to remove the LVAD. Plaintiff’s doctors scheduled the surgery in or about
12   October 2022 to remove the device and extended Plaintiff’s leave until December 19, 2022.
13   Plaintiff’s requested extension was once again approved by Defendants.
14          24.       On or about December 20, 2022, Plaintiff drove into work, excited that he was
15   able to continue working and that his heart had recovered, only to receive a phone call from
16   Defendants’ human resources manager Tracy Aguilar (“Aguilar”), who told Plaintiff, for the first
17   time, that his position had been eliminated during his leave and that he would no longer be
18   General Manager. Plaintiff was in complete shock and disbelief. He asked what he was supposed
19   to do, and Aguilar responded by telling Plaintiff he could come back to an entry level job as an
20   aircraft fueler or cargo handler. Plaintiff would have to go from a salaried position making over
21   $100,000 per year, to an hourly role making less than $20.00 per hour. Plaintiff felt that these job
22   offers were a slap in the face as he would have to come back to a position making less than half
23   of his old hourly rate and be managed by the team members he used to manage before taking
24   medical leave.
25          25.       Plaintiff told Aguilar that financially he could not accept an entry level position
26   and that he wanted to come back in a managerial role comparable to the Operations/General
27   Manager role Plaintiff held prior to going on medical leave. Aguilar told Plaintiff that he had
28   until on or about December 23, 2022 to accept one of those positions and if he did not then


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1    Aguilar would terminate Plaintiff’s employment as a “voluntary resignation.” Plaintiff reiterated
2    he was not resigning, and again asked to return to his old role or a comparable managerial role in
3    another department.
4           26.      Plaintiff had a meeting with Aguilar on December 23, 2022. Aguilar sent a recap
5    email that same day reiterating that Plaintiff had stated he financially cannot accept the entry
6    level positions offered to him. Aguilar set up a “final meeting” with Plaintiff for December 28,
7    2022 for him to “reconsider accepting one of the positions being offered.” Aguilar further
8    informed Plaintiff that “If you do not attend the meeting, I will then accept your voluntary
9    resignation.”
10          27.      Plaintiff met with Aguilar again on December 28, 2022, where he maintained that
11   he deserved to comeback to a comparable role and reiterated that he would not resign. Aguilar
12   then sent Plaintiff an email stating that Plaintiff verbally refused the entry-level positions offered
13   to him again. Aguilar then listed four (4) managerial positions within Menzies and/or ASI, but
14   each position was out of state (Illinois, Toronto, or Texas), and Defendants informed Plaintiff
15   that “there are no relocation funds available.” Moreover, the positions were not simply offered to
16   Plaintiff, but he was told by Aguilar that he would need to apply and interview for any position
17   he was interested in. Aguilar gave Plaintiff two (2) days to make a decision and concluded her
18   email by stating “Failure to respond, I will accept this as your voluntary resignation.”
19          28.      On or about December 29, 2022, Plaintiff emailed Aguilar stating that he needed
20   more than two (2) days to consider relocating his entire family to another state, and again stated
21   “I do not resign or voluntarily resign, and it feels threaten when you say this (sic).”
22          29.      Aguilar would respond via email this very same day once again stating that
23   Plaintiff had refused the entry-level jobs in San Francisco, and that she had offered him some
24   managerial positions for which he would “have [to] interview and be considered, if [he]
25   qualif[ies].” Aguilar gave Plaintiff until January 3, 2023 to make a decision, and told Plaintiff
26   that if he did not accept one of the entry level jobs in San Francisco by January 3, 2023 then she
27   would “have no choice but to terminate [Plaintiff’s] employment as a voluntary
28   resignation/refused worked (sic).”


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1           30.     On or about January 3, 2023, Plaintiff sent Aguilar an email saying that he could
2    not apply for the out of state jobs as he could not move his family across (or out of) the country,
3    and that he could not financially take the entry level laborer jobs offered in San Francisco since it
4    would cut his pay in half. Yet again, Plaintiff stated that he was not resigning and that he felt that
5    Aguilar was forcing Plaintiff to take these jobs menial jobs and/or resign and was being treated
6    this way because of his medical leave. Aguilar responded the same day, and instead of
7    addressing Plaintiff’s concerns of disparate treatment or attempting to help Plaintiff, Aguilar sent
8    Plaintiff a change in status form wrongfully terminating his employment. Aguilar selected that
9    Plaintiff voluntarily resigned and refused work on the change of status form.
10   Exhaustion of Administrative Remedies:
11          31.     At all applicable times mentioned herein, Defendants regularly employed five or
12   more persons in California, bringing Defendants subject to the provisions of the Fair
13   Employment and Housing Act (“FEHA”).
14          32.     Plaintiff has adequately exhausted all of his administrative remedies under the
15   FEHA and obtained a valid “right to sue” letter against Defendants from the Department of Fair
16   Employment and Housing.
17

18                                     FIRST CAUSE OF ACTION
19            (Disability Discrimination in Violation of Cal. Gov. Code Section 12900 et seq.
20                           by Plaintiff Against ASI, Menzies, and Does 1-50)
21          33.     Plaintiff alleges and incorporates herein by this reference each and every
22   allegation set forth in all previous paragraphs of this Complaint.
23          34.     There existed an employer-employee relationship between Plaintiff and
24   Defendants during the Employment Period and, at all times herein, Plaintiff was duly qualified
25   and performed her employment duties in a satisfactory manner.
26          35.     Because FEHA requires only a “limitation” on a major life activity, evidence of a
27   temporary or short-term impairment qualifies an employee as disabled under FEHA, thereby
28



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1    affording said employee the protections provided to disabled persons under FEHA. (Diaz v. Fed.
2    Express Corp., (2005) 373 F.Supp.2d 1034, 1051-1052).
3             36.   Plaintiff suffered from a physical disability and is a member of a protected class
4    within the meaning of FEHA and is entitled to its guarantees of full and equal access to
5    employment.
6             37.   It is unlawful for an employer to discriminate against an employee based on the
7    employee’s “race, religious creed, color, national origin, ancestry, physical disability, mental
8    disability, medical condition, genetic information, marital status, sex, gender, gender identity,
9    gender expression, age, sexual orientation, or military and veteran status of any person” or to
10   “discharge the person from employment… or to discriminate against the person in compensation
11   or in terms, conditions, or privileges of employment.” (Cal. Gov’t Code § 12940(a)).
12            38.   Plaintiff was, at all times herein, an “employee” covered by California
13   Government Code § 12900 et seq.
14            39.   Defendants were at all relevant times hereto “employers” within the meaning of
15   California Government Code § 12900 et seq.
16            40.   Plaintiff’s physical disability and/or other characteristics protected by FEHA were
17   motivating factors in Defendant’s adverse treatment of Plaintiff, as set forth in detail herein
18   above.
19            41.   Plaintiff has performed competently and has gone above and beyond in his
20   position, has suffered an adverse employment action, and the circumstances give rise to the
21   discriminatory conduct from Defendants.
22            42.   As alleged herein above, Plaintiff suffered from a physical disability that resulted
23   in several heart surgeries and a stroke that disabled the right side of his body. Plaintiff would
24   suffer from surgical complications which resulted in his medical leave being extended through
25   December 2022. Upon attempting to return to work in December 2022, Defendants informed
26   Plaintiff, for the first time, that his position had been eliminated while he was out on medical
27   leave. Defendants then offered Plaintiff entry level laborer positions with a pay cut of over 50%,
28   or managerial positions out of state for which Plaintiff would have to apply and interview for,


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1    and no relocation fees would be provided. Defendants told Plaintiff that if he refused to accept
2    one of these positions then they would terminate his employment, and that is exactly what they
3    did. On January 3, 2023, Defendants sent Plaintiff a change of status form wrongfully
4    contending that Plaintiff had voluntarily resigned and refused work, thereby terminating his
5    employment.
6           43.     Defendants’ conduct as alleged herein violated FEHA and Defendants committed
7    unlawful employment practices, including, without limitation, discriminating against Plaintiff by
8    materially affecting the terms and conditions of his employment, in whole or in part on the basis
9    of Plaintiff’s mental disability in violation of California Government Code § 12900 et seq.
10          44.     As a direct, foreseeable, and proximate result of Defendants’ actions, Plaintiff has
11   suffered and continues to suffer aggravation of his injuries, substantial losses in earnings and job
12   benefits, humiliation, emotional distress, and physical and mental pain and anguish all to his
13   damage in a sum according to proof at the time of trial.
14          45.     Plaintiff has incurred and continues to incur legal expenses and attorneys’ fees
15   pursuant to Government Code § 12965(b). Plaintiff is entitled to recover reasonable attorneys’
16   fees and costs in an amount according to proof at the time of trial.
17          46.     Defendants’ conduct was willful, knowing, malicious, intentional, and done in
18   reckless disregard of the damaging consequences to Plaintiff. Defendants’ conduct evidenced a
19   conscious disregard of Plaintiff’s rights. Plaintiff is thus entitled to recover actual, compensatory,
20   punitive, and exemplary damages in amounts according to proof at time of trial.
21

22                                    SECOND CAUSE OF ACTION
23     (Harassment and Hostile Work Environment in Violation of Cal. Gov. Code Section 12900 et
24                          seq. by Plaintiff Against Defendants and Does 1-50)
25          47.     Plaintiff alleges and incorporates herein by this reference each and every
26   allegation set forth in all previous paragraphs of this Complaint.
27

28



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1             48.   There existed an employer-employee relationship between Plaintiff and
2    Defendants during the Employment Period and, at all times herein, Plaintiff was duly qualified
3    and performed her employment duties in a satisfactory manner.
4             49.   Plaintiff suffered from a disability during the Employment Period and was a
5    member of a protected class within the meaning of the FEHA and is entitled to its guarantees of
6    full and equal access to employment.
7             50.   It is unlawful for an employer to harass an employee based on the employee’s
8    “race, religious creed, color, national origin, ancestry, physical disability, mental disability,
9    medical condition, genetic information, marital status, sex, gender, gender identity, gender
10   expression, age, sexual orientation, or military and veteran status of any person.” Harassment of
11   an employee “shall be unlawful if the entity, or its agents or supervisors, knows or should have
12   known of this conduct and fails to take immediate and appropriate corrective action. (Cal. Gov’t
13   Code § 12940(j)). Even discriminatory personnel/management decisions of the employer can
14   provide the basis for a harassment or hostile work environment claim. (Roby v. McKesson Corp.
15   (2009) 47 Cal.4th 686, 707; See also Miller v. Department of Corrections (2005) 36 Cal.4th
16   446.)
17            51.   Plaintiff was at all times herein an “employee” covered by Cal. Gov. Code §
18   12900 et seq. Defendants were at all relevant times hereto “employers” within the meaning of
19   Cal. Gov. Code § 12900 et seq.
20            52.   Plaintiff’s disability and/or other characteristics protected by FEHA were
21   motivating factors in Defendant’s adverse treatment of Plaintiff.
22            53.   As described herein above, during Plaintiff’s employment, Defendants, and each
23   of them and/or their agents or employees engaged in a pattern and practice of unlawful
24   harassment in violation of FEHA. Defendants harassed Plaintiff via the actions of Aguilar, who
25   acting in her capacity as an agent and employee of ASI and Menzies, repeatedly (i) sought to
26   obstruct Plaintiff’s return to work, (ii) continually threatened Plaintiff with his “voluntary
27   resignation” despite multiple written statements from Plaintiff that he would not resign, (iii) gave
28   Plaintiff unrealistic deadlines for which to decide whether to take over a 50% pay cut or relocate


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1    his family across or to another country, (iv) ignored and failed to investigate Plaintiff’s claim of
2    disparate treatment based upon his disability/medical leave, and (v) instead responded by
3    terminating Plaintiff’s employment.
4           54.     The harassment and hostile work environment as alleged herein was such that a
5    reasonable woman in Plaintiff’s circumstances would have considered the work environment to
6    be hostile, intimidating, offensive, oppressive, and/or abusive.
7           55.     Defendants knew or should have known of Aguilar’s conduct but continued to
8    allow her to continue to harass, threaten, belittle, and humiliate Plaintiff without any disciplinary
9    action, thereby creating a hostile, intimidating, offensive, oppressive, and abusive work
10   environment.
11          56.     As a direct, foreseeable, and proximate result of Defendant’s actions, Plaintiff has
12   suffered and continues to suffer aggravation of her injuries, substantial losses in earnings,
13   benefits, humiliation, emotional distress, and physical and mental pain and anguish all to her
14   damage in a sum according to proof at the time of trial.
15          57.     Plaintiff has incurred and continues to incur legal expenses and attorneys’ fees
16   pursuant to Cal. Gov. Code § 12965(b). Plaintiff is entitled to recover reasonable attorneys’ fees
17   and costs in an amount according to proof at the time of trial.
18          58.     Defendant’s conduct was willful, knowing malicious intentional, and done in
19   reckless disregard of the damaging consequences to Plaintiff. Defendant’s conduct evidences a
20   conscious disregard of Plaintiff’s rights. Plaintiff is thus entitled to recover actual, compensatory,
21   punitive, and exemplary damages in amount according to proof at the time of trial.
22

23                                     THIRD CAUSE OF ACTION
24      (Failure to Prevent Discrimination and Harassment in Violation of Cal. Gov. Code Section
25                    12900 et seq. by Plaintiff Against ASI, Menzies, and Does 1-50)
26          59.     Plaintiff alleges and incorporates herein by this reference each and every
27   allegation set forth in all previous paragraphs of this Complaint.
28



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1           60.     At all relevant times, there existed an employer-employee relationship between
2    Plaintiff and Defendants.
3           61.     At all relevant times, Defendants were employers who regularly employed five or
4    more persons within the meaning of California Government Code § 12900 et seq.
5           62.     At all applicable times herein, Gov. Code § 12900 et seq. was in full force and
6    effect and binding on Defendants.
7           63.     California law requires that employers take reasonable steps to prevent and
8    correct wrongful behavior, including, but not limited to, harassing and discriminatory behavior.
9    (See Gov. Code § 12940(k)) (In it unlawful “For an employer… to fail to take all reasonable
10   steps necessary to prevent discrimination and harassment from occurring.”)). Pursuant to this
11   statute, Defendants were required to take all reasonable steps to prevent discrimination and
12   harassment against Plaintiff based on Plaintiff’s disability and/or other protected characteristics.
13          64.     As alleged herein above, throughout the Employment Period, Defendants failed to
14   prevent Defendants and their agents, supervisors, employees, and others from engaging in
15   intentional actions that resulted in Plaintiff being treated less favorably because of Plaintiff’s
16   protected status (i.e., disability). Plaintiff complained of the disparate treatment he suffered due
17   to his disability/request for medical leave. Rather than investigate and/or remediate the matter,
18   Defendants responded via the wrongful termination of his employment.
19          65.     Plaintiff is informed and believes, and based thereon alleges, that his disability
20   and/or other characteristics protected by FEHA were substantial motivating factors in
21   Defendants’ adverse treatment of Plaintiff. Despite knowing its legal obligations, Defendants did
22   nothing to prevent the rampant discrimination and harassment that Plaintiff suffered.
23          66.     Defendants knew, or reasonably should have known of the other Defendants and
24   their agents, supervisors and employees’ unlawful discrimination of Plaintiff, and that
25   Defendants should have restrained such other Defendants from engaging in such conduct.
26          67.     As a direct, foreseeable, and proximate result of Defendants’ actions, Plaintiff has
27   suffered and continues to suffer aggravation of his injuries, substantial losses in earnings and job
28



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1    benefits, humiliation, emotional distress, and physical and mental pain and anguish all to his
2    damage in a sum according to proof at the time of trial.
3           68.     Plaintiff has incurred and continues to incur legal expenses and attorneys’ fees
4    pursuant to Government Code § 12965(b). Plaintiff is entitled to recover reasonable attorneys’
5    fees and costs in an amount according to proof at the time of trial.
6           69.     Defendants’ conduct was willful, knowing, malicious, intentional, and done in
7    reckless disregard of the damaging consequences to Plaintiff. Defendants’ conduct evidenced a
8    conscious disregard of Plaintiff’s rights. Plaintiff is thus entitled to recover actual, compensatory,
9    punitive, and exemplary damages in amounts according to proof at time of trial.
10

11                                    FOURTH CAUSE OF ACTION
12             (Retaliation in Violation of Cal. Gov. Code Section 12900 et seq. by Plaintiff
13                                 Against ASI, Menzies, and Does 1-50)
14          70.     Plaintiff alleges and incorporates herein by this reference each and every
15   allegation set forth in all previous paragraphs of this Complaint.
16          71.     At all relevant times, there existed an employer-employee relationship between
17   Plaintiff and Defendants.
18          72.     At all relevant times, Defendants were employers who regularly employed five or
19   more persons within the meaning of California Government Code § 12900 et seq.
20          73.     At all applicable times herein, Gov. Code § 12900 et seq. was in full force and
21   effect and binding on Defendants.
22          74.     California Government Code § 12940(h) provides that it is unlawful to retaliate
23   against a person “because the person has opposed any practices forbidden under [Government
24   Code Sections 12900-12966]”. It is also unlawful to retaliate or otherwise discriminate against a
25   person for requesting an accommodation for disability, regardless of whether the accommodation
26   was granted. (See Cal. Gov’t Code § 12940(m)(2)).
27          75.     As alleged herein above, Plaintiff requested a medical leave of absence pursuant
28   to the FMLA in or about February 2022 for him to obtain a necessary heart surgery. Plaintiff


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1    would suffer from surgical complications which resulted in his medical leave being extended
2    through December 2022. Upon attempting to return to work in December 2022, Defendants
3    retaliated against Plaintiff for his extended medical leave by informing him, for the first time,
4    that his position had been eliminated while he was out on medical leave. Defendants then offered
5    Plaintiff entry level laborer positions with a pay cut of over 50%, or managerial positions out of
6    state for which Plaintiff would have to apply and interview for, and no relocation fees would be
7    provided. Defendants told Plaintiff that if he refused to accept one of these positions then they
8    would terminate his employment, and that is exactly what they did. On January 3, 2023,
9    Defendants committed their final retaliatory act via the wrongful termination of his employment.
10          76.     As a proximate result of Defendants’ actions, Plaintiff has suffered and continues
11   to suffer aggravation of his injuries, substantial losses in earnings and job benefits, humiliation,
12   emotional distress, and physical and mental pain and anguish all to his damage in a sum
13   according to proof at the time of trial.
14          77.     Plaintiff has incurred and continues to incur legal expenses and attorneys’ fees
15   pursuant to Government Code § 12965(b). Plaintiff is entitled to recover reasonable attorneys’
16   fees and costs in an amount according to proof at the time of trial.
17          78.     Defendants’ conduct was willful, knowing, malicious, and intentional and done in
18   reckless disregard of the damaging consequences to Plaintiff. Defendants’ conduct evidenced a
19   conscious disregard of Plaintiff’s rights. Plaintiff is thus entitled to recover actual, compensatory,
20   punitive, and exemplary damages in amounts according to proof at time of trial.
21

22                                      FIFTH CAUSE OF ACTION
23       (Wrongful Termination in Violation of Public Policy (Count I) By Plaintiff Against ASI,
24                                         Menzies, and Does 1-50)
25          79.     Plaintiff alleges and incorporates herein by this reference each and every
26   allegation set forth in all previous paragraphs of this Complaint.
27          80.     At all relevant times herein, there existed an employer-employee relationship
28   between Plaintiff and Defendants during the Employment Period.


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1           81.     At all relevant times herein, Plaintiff was duly qualified and performed his
2    employment duties in a satisfactory manner.
3           82.     At all relevant times to this action, Government Code § 12900 et seq. was in full
4    force and effect and was binding upon Defendants. Government Code § 12900 et seq. prohibits
5    an employer from retaliating against employees who request a disability related accommodation.
6    (Cal. Gov’t Code § 12900(m)(2)). Government Code § 12900 et seq. evinces a policy that
7    benefits society at large, was well-established at the time of Plaintiff’s discharge, and is
8    substantial and fundamental.
9           83.     Plaintiff’s requests for and use of FMLA leave and extended medical leave were
10   substantial motivating reasons for Defendants’ decision to terminate Plaintiff’s employment.
11          84.     As a direct and proximate result of Defendants’ actions, Plaintiff has suffered, and
12   continues to suffer, substantial losses in earnings and other job benefits, and will for a period of
13   time in the future be unable to obtain gainful employment, as Plaintiff’s ability to obtain such
14   employment and earning capacity has been diminished. The exact amount of such expenses and
15   losses is presently unknown, and Plaintiff will seek leave to amend this Complaint to the exact
16   amount when it is ascertained.
17          85.     As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered
18   general damages, as Plaintiff was psychologically injured. Such injuries have caused, and
19   continue to cause Plaintiff great mental pain and suffering, humiliation, grief, and anxiety, in an
20   amount more than the jurisdictional limits of this Court.
21          86.     Plaintiff is informed and believes, and based thereon alleges, that Defendants’
22   (including employees, officers, directors, and/or managing agents of Defendants) conduct was
23   willful, knowing, malicious, and intentional and done in reckless disregard of the damaging
24   consequences to Plaintiff. Defendants’ conduct evidenced a conscious disregard of Plaintiff’s
25   rights. Plaintiff is thus entitled to recover actual, compensatory, punitive, and exemplary
26   damages in amounts according to proof.
27          87.     Plaintiff is informed and believes, and based thereon alleges, that the actions of
28   Defendants’ employees, officers, directors, and/or managing agents were undertaken with the


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1    prior approval, consent, and authorization of Defendants and were subsequently authorized and
2    ratified by it as well as by and through its officers, directors, and/or managing agents.
3

4                                      SIXTH CAUSE OF ACTION
5                     (Wrongful Termination in Violation of Public Policy (Count II)
6                            by Plaintiff Against ASI, Menzies, and Does 1-50)
7           88.     Plaintiff alleges and incorporates herein by this reference each and every
8    allegation set forth in all previous paragraphs of this Complaint.
9           89.     At all relevant times herein, there existed an employer-employee relationship
10   between Plaintiff and Defendants during the Employment Period.
11          90.     At all relevant times herein, Plaintiff was duly qualified and performed his
12   employment duties in a satisfactory manner.
13          91.     At all applicable times herein, California Government Code § 12900 et seq. and
14   California Constitution Art I., § 8 were in full force and effect and binding on Defendants.
15          92.     Defendants’ termination of Plaintiff was in violation of fundamental public
16   policies, articulated in Government Code § 12900 et seq. and Article I, § 8 of the California
17   Constitution. Specifically, that the policy behind the prevention of discrimination protects
18   Plaintiff and the public at large, is substantial and fundamental, was well established at the time
19   of Plaintiff’s discharge, and can form the basis of a common law wrongful termination claim.
20   (Stevenson v. Superior Court (Huntington Mem. Hosp.), (1997) 16 Cal.4th 880, 889; Phillips v.
21   St. Mary Regional Medical Center, (2002) 96 Cal.App.4th 218, 227).
22          93.     Plaintiff’s disability and/or other protected characteristics were a substantial
23   motivating reason for Defendants’ decision to terminate Plaintiff’s employment.
24          94.     As a direct and proximate result of Defendants’ actions, Plaintiff has suffered, and
25   continues to suffer, substantial losses in earnings and other job benefits, and will for a period of
26   time in the future be unable to obtain gainful employment, as Plaintiff’s ability to obtain such
27   employment and earning capacity has been diminished. The exact amount of such expenses and
28



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1    losses is presently unknown, and Plaintiff will seek leave to amend this Complaint to the exact
2    amount when it is ascertained.
3           95.      As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered
4    general damages, as Plaintiff was psychologically injured. Such injuries have caused, and
5    continue to cause Plaintiff great mental pain and suffering, humiliation, grief, and anxiety, in an
6    amount more than the jurisdictional limits of this Court.
7           96.      Plaintiff is informed and believes, and based thereon alleges, that Defendants’
8    (including employees, officers, directors, and/or managing agents of Defendants) conduct was
9    willful, knowing, malicious, and intentional and done in reckless disregard of the damaging
10   consequences to Plaintiff. Defendants’ conduct evidenced a conscious disregard of Plaintiff’s
11   rights. Plaintiff is thus entitled to recover actual, compensatory, punitive, and exemplary
12   damages in amounts according to proof.
13          97.      Plaintiff is informed and believes, and based thereon alleges, that the actions of
14   Defendants’ employees, officers, directors, and/or managing agents were undertaken with the
15   prior approval, consent, and authorization of Defendants and were subsequently authorized and
16   ratified by it as well as by and through its officers, directors, and/or managing agents.
17

18                                        PRAYER FOR RELIEF
19          WHEREFORE, Plaintiff prays for judgment against Defendants, jointly and severally, as
20   follows:
21                              UNDER THE FIRST CAUSE OF ACTION
22          1. For all compensatory, consequential, general and special damages, subject to proof;
23          2. For punitive damages in an amount to be determined by the Court to be reasonable
24                under the circumstances of this case;
25          3. For attorney’s fees and costs pursuant to Government Code § 12965(b);
26          4. For interest according to law;
27          5. For costs of suit incurred herein; and
28          6. For such other and further relief that the Court determines to be just and proper.


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1

2                     UNDER THE SECOND CAUSE OF ACTION
3     1. For all compensatory, consequential, general and special damages, subject to proof;
4     2. For punitive damages in an amount to be determined by the Court to be reasonable
5        under the circumstances of this case;
6     3. For attorney’s fees and costs pursuant to Government Code § 12965(b);
7     4. For interest according to law;
8     5. For costs of suit incurred herein; and
9     6. For such other and further relief that the Court determines to be just and proper.
10

11                     UNDER THE THIRD CAUSE OF ACTION
12    1. For all compensatory, consequential, general and special damages, subject to proof;
13    2. For punitive damages in an amount to be determined by the Court to be reasonable
14       under the circumstances of this case;
15    3. For attorney’s fees and costs pursuant to Government Code § 12965(b);
16    4. For interest according to law;
17    5. For costs of suit incurred herein; and
18    6. For such other and further relief that the Court determines to be just and proper.
19

20                    UNDER THE FOURTH CAUSE OF ACTION
21    1. For all compensatory, consequential, general and special damages, subject to proof;
22    2. For punitive damages in an amount to be determined by the Court to be reasonable
23       under the circumstances of this case;
24    3. For attorney’s fees and costs pursuant to Government Code § 12965(b);
25    4. For interest according to law;
26    5. For costs of suit incurred herein; and
27    6. For such other and further relief that the Court determines to be just and proper.
28



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1                             UNDER THE FIFTH CAUSE OF ACTION
2           1. For all compensatory, consequential, general and special damages, subject to proof;
3           2. For punitive damages in an amount to be determined by the Court to be reasonable
4              under the circumstances of this case;
5           3. For interest according to law;
6           4. For costs of suit incurred herein; and
7           5. For such other and further relief that the Court determines to be just and proper.
8

9                             UNDER THE SIXTH CAUSE OF ACTION
10          6. For all compensatory, consequential, general and special damages, subject to proof;
11          7. For punitive damages in an amount to be determined by the Court to be reasonable
12             under the circumstances of this case;
13          8. For interest according to law;
14          9. For costs of suit incurred herein; and
15          10. For such other and further relief that the Court determines to be just and proper.
16

17

18   Dated: June 8, 2023.                         MARQUEE LAW GROUP, APC
19

20                                                By: ________________________________
21
                                                      F. Shawn Azizollahi, Esq.
                                                      Gary S. Brotman, Esq.
22                                                    Attorneys for Plaintiff Geary Sha
23   //

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1                                   DEMAND FOR JURY TRIAL
2           PLAINTIFF hereby demands a jury trial with respect to all issues triable in the
3    Complaint.
4

5    Dated: June 8, 2023                         MARQUEE LAW GROUP, APC
6

7                                                By: ________________________________
8
                                                     F. Shawn Azizollahi, Esq.
                                                     Gary S. Brotman, Esq.
9                                                    Attorneys for Plaintiff Geary Sha
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